
PER CURIAM.
AFFIRMED. See Barber v. State, 564 So.2d 1169 (Fla. 1st DCA 1990); Smith v. State, 567 So.2d 55 (Fla. 2d DCA 1990); Arnold v. State, 566 So.2d 37 (Fla. 2d DCA 1990); Roberts v. State, 559 So.2d 289 (Fla. 2d DCA), dismissed, 564 So.2d 488 (Fla.1990); King v. State, 557 So.2d 899 (Fla. 5th DCA), review denied, 564 So.2d 1086 (Fla.1990).
SHIVERS, C.J., and SMITH and NIMMONS, JJ., concur.
